B1 (Official Form 1)Case
                     (04/13)   15-20717             Doc 1          Filed 06/15/15             Entered 06/15/15 14:41:35                        Desc Main
                                       UNITED STATES BANKRUPTCYDocument
                                                               COURT                          Page 1 of 20
                                                                                                                                     VOLUNTARY PETITION
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
                         __________
 Name of Debtor (if individual, enter Last, First, Middle):                                    Name of Joint Debtor (Spouse) (Last, First, Middle):
Moxley, Richard Carl
 All Other Names used by the Debtor in the last 8 years                                        All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                   (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all): 6269                                                           (if more than one, state all):

 Street Address of Debtor (No. and Street, City, and State):                                   Street Address of Joint Debtor (No. and Street, City, and State):
10146 Hiawatha Trail
Orland Park, Illinois
                                                         ZIP CODE                   60462                                                         ZIP CODE
 County of Residence or of the Principal Place of Business:                                    County of Residence or of the Principal Place of Business:
COOK
 Mailing Address of Debtor (if different from street address):                                 Mailing Address of Joint Debtor (if different from street address):



                                                           ZIP CODE                                                                                 ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                    ZIP CODE
                           Type of Debtor                                        Nature of Business                          Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                           the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                        X     Chapter 7                  Chapter 15 Petition for
  X     Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in            Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                              Chapter 11                 Main Proceeding
        Corporation (includes LLC and LLP)                                 Railroad                                          Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                       Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                             Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                           Other
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                           Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                    (Check one box.)
                                                                                                                       X   Debts are primarily consumer            Debts are
                                                                          Debtor is a tax-exempt organization              debts, defined in 11 U.S.C.             primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States              § 101(8) as “incurred by an             business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).                individual primarily for a
                                                                                                                           personal, family, or
                                                                                                                           household purpose.”
                                   Filing Fee (Check one box.)                                                                 Chapter 11 Debtors
                                                                                               Check one box:
  X     Full Filing Fee attached.                                                                  Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is         Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.              Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                   insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must               on 4/01/16 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.         -----------------------------------
                                                                                               Check all applicable boxes:
                                                                                                   A plan is being filed with this petition.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                   of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR
                                                                                                                                                                COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
  X

 1-49          50-99          100-199           200-999     1,000-         5,001-         10,001-          25,001-           50,001-          Over
                                                            5,000          10,000         25,000           50,000            100,000          100,000

 Estimated Assets
                               X

 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100          to $500           to $1 billion    $1 billion
                                                million     million        million        million          million
 Estimated Liabilities
                               X

 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100          to $500           to $1 billion    $1 billion
                                                million     million        million        million          million
B1 (Official Form 1)Case
                     (04/13) 15-20717           Doc 1 Filed 06/15/15 Entered 06/15/15 14:41:35 Desc Main                                                                  Page 2
 Voluntary Petition                                          Document                Page
                                                                                       Name of2    of 20Moxley, Richard Carl
                                                                                                Debtor(s):
 (This page must be completed and filed in every case.)
 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                              Case Number:                             Date Filed:
 Where Filed: NONE
 Location                                                                              Case Number:                             Date Filed:
 Where Filed:
 Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                       Case Number:                             Date Filed:
                        NONE
 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X         s/Bernard W. Moltz                   June 2, 2015
                                                                                                    Signature of Attorney for Debtor(s)       (Date)



                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

        No.


                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

       Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
               X       Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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 Voluntary Petition                                                Document     Page
                                                                                Name of 3 of 20 Moxley, Richard Carl
                                                                                        Debtor(s):
 (This page must be completed and filed in every case.)
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X    s/Richard Carl Moxley                                                                  X
      Signature of Debtor                Richard Carl Moxley                                      (Signature of Foreign Representative)

 X
      Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
      June 2, 2015                                                                                Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X    s/Bernard W. Moltz                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      Bernard W. Moltz                                                                       provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      Herzog & Schwartz, P.C.                                                                guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
      77 W. Washington Street, Suite 2110                                                    or accepting any fee from the debtor, as required in that section. Official Form 19 is
      Chicago, Illinois 60602                                                                attached.
      Address

      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
      June 2, 2015
      Date
                                                                                                  Social-Security number (If the bankruptcy petition preparer is not an individual,
                                                                                                  state the Social-Security number of the officer, principal, responsible person or
                                                                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
 certification that the attorney has no knowledge after an inquiry that the information
 in the schedules is incorrect.
                                                                                                  Address
                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true   X
 and correct, and that I have been authorized to file this petition on behalf of the              Signature
 debtor.

 The debtor requests the relief in accordance with the chapter of title 11, United States         Date
 Code, specified in this petition.
                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible person, or
 X                                                                                           partner whose Social-Security number is provided above.
      Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or assisted
      Printed Name of Authorized Individual                                                  in preparing this document unless the bankruptcy petition preparer is not an
                                                                                             individual.
      Title of Authorized Individual
                                                                                             If more than one person prepared this document, attach additional sheets conforming
      Date
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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B6A (Official Form 6A) (12/07)

In re Richard Carl Moxley,                                                                              Case No.
                                               Debtor                                                                           (If known)


                                       SCHEDULE A - REAL PROPERTY




                                                                                        Husband, Wife, Joint,
                                                                                                                  CURRENT VALUE




                                                                                           or Community
                                                                                                                    OF DEBTOR’S
                  DESCRIPTION AND                                                                                   INTEREST IN       AMOUNT OF
                                                          NATURE OF DEBTOR’S
                    LOCATION OF                                                                                 PROPERTY, WITHOUT      SECURED
                                                         INTEREST IN PROPERTY
                     PROPERTY                                                                                     DEDUCTING ANY         CLAIM
                                                                                                                  SECURED CLAIM
                                                                                                                   OR EXEMPTION




 Primary Residence - Single Family Home
                                                        Fee Simple Ownership                                           $163,000.00           $147,000.00
 10146 Hiawatha Trail, Orland Park, IL 60462




                                                                                      Total ►                           $163,000.00


                                                        (Report also on Summary of Schedules.)
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B 6B (Official Form 6B) (12/2007)

In re Richard Carl Moxley,                                                               Case No.
                                                    Debtor                                                            (If known)


                                      SCHEDULE B - PERSONAL PROPERTY




                                                                                           Joint, Or Community
                                                                                                                   CURRENT VALUE OF




                                                                                              Husband, Wife,
                                                N                                                                DEBTOR’S INTEREST IN
                                                O          DESCRIPTION AND LOCATION                               PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                                N                OF PROPERTY                                        DEDUCTING ANY
                                                E                                                                   SECURED CLAIM
                                                                                                                     OR EXEMPTION


 1. Cash on hand.                                   Cash on hand                                                                     $20.00


 2. Checking, savings or other financial            Checking account - Bank of America                                              $800.00
 accounts, certificates of deposit or shares
 in banks, savings and loan, thrift,
 building and loan, and homestead
 associations, or credit unions, brokerage
 houses, or cooperatives.


                                                    Savings account - Bank of America                                              $1,100.00



 3. Security deposits with public utilities,
 telephone companies, landlords, and            X
 others.

 4. Household goods and furnishings,                Ordinary household furnishings                                                  $500.00
 including audio, video, and computer
 equipment.


 5. Books; pictures and other art objects;
 antiques; stamp, coin, record, tape,
                                                X
 compact disc, and other collections or
 collectibles.

 6. Wearing apparel.                                Ordinary wearing apparel                                                        $300.00



 7. Furs and jewelry.                           X

 8. Firearms and sports, photographic,
                                                X
 and other hobby equipment.

 9. Interests in insurance policies. Name
 insurance company of each
                                                X
 policy and itemize surrender or
 refund value of each.

 10. Annuities. Itemize and name each
                                                X
 issuer.

 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
                                                X
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)
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B 6B (Official Form 6B) (12/2007)

In re Richard Carl Moxley,                                                          Case No.
                                                    Debtor                                                        (If known)


                                      SCHEDULE B - PERSONAL PROPERTY
                                                             (Continuation Sheet)




                                                                                       Joint, Or Community
                                                                                                               CURRENT VALUE OF




                                                                                          Husband, Wife,
                                               N                                                             DEBTOR’S INTEREST IN
                                               O        DESCRIPTION AND LOCATION                              PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                               N              OF PROPERTY                                       DEDUCTING ANY
                                               E                                                                SECURED CLAIM
                                                                                                                 OR EXEMPTION



 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.        X
 Give particulars.

 13. Stock and interests in incorporated
                                               X
 and unincorporated businesses. Itemize.

 14. Interests in partnerships or joint
                                               X
 ventures. Itemize.

 15. Government and corporate bonds and
 other negotiable and nonnegotiable            X
 instruments.

 16. Accounts receivable.                      X

 17. Alimony, maintenance, support, and
 property settlements to which the debtor      X
 is or may be entitled. Give particulars.

 18. Other liquidated debts owed to debtor
                                               X
 including tax refunds. Give particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than      X
 those listed in Schedule A – Real
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death
                                               X
 benefit plan, life insurance policy, or
 trust.

 21. Other contingent and unliquidated
 claims of every nature, including tax
 refunds, counterclaims of the debtor, and     X
 rights to setoff claims. Give estimated
 value of each.

 22. Patents, copyrights, and other
                                               X
 intellectual property. Give particulars.

 23. Licenses, franchises, and other
                                               X
 general intangibles. Give particulars.
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B 6B (Official Form 6B) (12/2007)

In re Richard Carl Moxley,                                                                         Case No.
                                                     Debtor                                                                      (If known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                  (Continuation Sheet)




                                                                                                      Joint, Or Community
                                                                                                                              CURRENT VALUE OF




                                                                                                         Husband, Wife,
                                              N                                                                             DEBTOR’S INTEREST IN
                                              O             DESCRIPTION AND LOCATION                                         PROPERTY, WITHOUT
         TYPE OF PROPERTY
                                              N                   OF PROPERTY                                                  DEDUCTING ANY
                                              E                                                                                SECURED CLAIM
                                                                                                                                OR EXEMPTION



 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C. §
 101(41A)) provided to the debtor by
                                              X
 individuals in connection with obtaining
 a product or service from the debtor
 primarily for personal, family, or
 household purposes.

 25. Automobiles, trucks, trailers, and              1967 Pontiac - Non-operational                                                             $500.00
 other vehicles and accessories.


                                                     2003 GMC - non-operable.                                                                   $700.00



                                                     2010 Chevy Trepala, 107,000 miles                                                         $8,500.00



 26. Boats, motors, and accessories.          X

 27. Aircraft and accessories.                X

 28. Office equipment, furnishings, and
                                              X
 supplies.

 29. Machinery, fixtures, equipment, and
                                              X
 supplies used in business.

 30. Inventory.                               X

 31. Animals.                                 X

 32. Crops - growing or harvested. Give
                                              X
 particulars.

 33. Farming equipment and implements.        X

 34. Farm supplies, chemicals, and feed.      X

 35. Other personal property of any kind
                                              X
 not already listed. Itemize.


                                              2 continuation sheets attached         Total ►                                                  $12,420.00
                                                         (Include amounts from any continuation
                                                           sheets attached. Report total also on
                                                                 Summary of Schedules.)
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 B6C (Official Form 6C) (04/13)

 In re Richard Carl Moxley,                                                                     Case No.
                       Debtor                                                                                          (If known)


                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                             $155,675.*
  11 U.S.C. § 522(b)(2)
  11 U.S.C. § 522(b)(3)


                                                                                                                          CURRENT
                                                                      SPECIFY LAW
                                                                                            VALUE OF CLAIMED         VALUE OF PROPERTY
                  DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                               EXEMPTION             WITHOUT DEDUCTING
                                                                       EXEMPTION
                                                                                                                         EXEMPTION

   10146 Hiawatha Trail, Orland Park, IL 60462                     735 ILCS 5/12-901                   $15,000.00              $163,000.00

                                                                   735 ILCS 5/12-
   1967 Pontiac - Non-operational                                                                          $500.00                   $500.00
                                                                   1001(b)

                                                                   735 ILCS 5/12-
   2003 GMC - non-operable.                                                                                $700.00                   $700.00
                                                                   1001(b)

                                                                   735 ILCS 5/12-
   2010 Chevy Trepala, 107,000 miles                                                                     $2,400.00                  $8,500.00
                                                                   1001(c)
                                                                   735 ILCS 5/12-
                                                                                                         $1,100.00
                                                                   1001(b)
                                                                   735 ILCS 5/12-
   Cash on hand                                                                                             $20.00                    $20.00
                                                                   1001(b)

                                                                   735 ILCS 5/12-
   Checking account - Bank of America                                                                      $800.00                   $800.00
                                                                   1001(b)

                                                                   735 ILCS 5/12-
   Ordinary household furnishings                                                                          $500.00                   $500.00
                                                                   1001(b)

                                                                   735 ILCS 5/12-
   Ordinary wearing apparel                                                                                $300.00                   $300.00
                                                                   1001(a),(e)

                                                                   735 ILCS 5/12-
   Savings account - Bank of America                                                                       $380.00                  $1,100.00
                                                                   1001(b)




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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 In re ____________________________________,
       Richard Carl Moxley                                                                                                                                                                                                      Case No. __________________________________
                                                                                             Debtor                                                                                                                                                    (If known)

                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           □          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                                            HUSBAND, WIFE,




                                                                                                                                                                                                                        UNLIQUIDATED
   CREDITOR’S NAME AND                                                                                                             DATE CLAIM WAS                                                                                                                                             AMOUNT OF CLAIM                                       UNSECURED




                                                                                                                                                                                     CONTINGENT
                                                                                             COMMUNITY
                                                           CODEBTOR
      MAILING ADDRESS                                                                                                                 INCURRED,                                                                                                                                                   WITHOUT                                           PORTION, IF

                                                                                              JOINT, OR




                                                                                                                                                                                                                                                             DISPUTED
  INCLUDING ZIP CODE AND                                                                                                           NATURE OF LIEN ,                                                                                                                                           DEDUCTING VALUE                                          ANY
    AN ACCOUNT NUMBER                                                                                                                    AND                                                                                                                                                   OF COLLATERAL
     (See Instructions Above.)                                                                                                       DESCRIPTION
                                                                                                                                    AND VALUE OF
                                                                                                                                      PROPERTY
                                                                                                                                   SUBJECT TO LIEN
 ACCOUNT NO.
Ally                                                                                                                          Purchase-Money
P.O. Box 9001951                                                                                                              Security Interest
Louisville, KY 40290                                                                                                                                                                                                                                                                                        $5,000.00
                                                                                                                              2010 Chevy
                                                                                                                              Trepala, 107,000
                                                                                                                              miles
                                                                                                                                   VALUE $         $8,500.00


ACCOUNT NO.
                                     ———————————————————



                                                                      ———————————————————




                                                                                                             ———————————————————




                                                                                                                                                               ———————————————————




                                                                                                                                                                                                  ———————————————————




                                                                                                                                                                                                                                       ———————————————————




                                                                                                                                                                                                                                                                        ———————————————————




                                                                                                                                                                                                                                                                                                                           ———————————————————
—————————————————————————————————

Quicken Loans                                                                                                                 First Mortgage
1050 Woodward Avenue
Detroit, MI 60462                                                                                                             10146 Hiawatha
                                                                                                                              Trail, Orland Park,                                                                                                                                                        $147,000.00
                                                                                                                              IL 60462
                                                                                                                        ———————————————————————
                                                                                                                           VALUE $
—————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                               $163,000.00




 ____
   0 continuation sheets                                                                                                           Subtotal ►                                                                                                                                                 $            152,000.00 $                                             0.00
      attached                                                                                                                     (Total of this page)
                                                                                                                                   Total ►                                                                                                                                                    $           152,000.00 $                                              0.00
                                                                                                                                   (Use only on last page)
                                                                                                                                                                                                                                                                                              (Report also on Summary of                         (If applicable, report
                                                                                                                                                                                                                                                                                              Schedules.)                                        also on Statistical
                                                                                                                                                                                                                                                                                                                                                 Summary of Certain
                                                                                                                                                                                                                                                                                                                                                 Liabilities and Related
                                                                                                                                                                                                                                                                                                                                                 Data.)
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B 6E (Official Form 6E) (04/13)

       In re
                 Richard Carl Moxley                                                   ,              Case No.
                                                             Debtor                                                       (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
X    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

    Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.


                                                            0 continuation sheets attached
                                                           ____
B 6F (Official FormCase     15-20717
                   6F) (12/07)             Doc 1                               Filed 06/15/15 Entered 06/15/15 14:41:35                                                                               Desc Main
                                                                                Document     Page 11 of 20
         Richard Carl Moxley
   In re _________________________________________________________,                                                         Case No. _________________________________
                                           Debtor                                                                                                   (if known)
       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                               HUSBAND, WIFE,

                                                                                COMMUNITY
           CREDITOR’S NAME,                                                                                    DATE CLAIM WAS                                                                                                   AMOUNT OF




                                                                                                                                                                          UNLIQUIDATED
                                                                                 JOINT, OR




                                                                                                                                                 CONTINGENT
                                                        CODEBTOR
            MAILING ADDRESS                                                                                     INCURRED AND                                                                                                      CLAIM




                                                                                                                                                                                                     DISPUTED
          INCLUDING ZIP CODE,                                                                                CONSIDERATION FOR
         AND ACCOUNT NUMBER                                                                                        CLAIM.
               See instructions above.                                                                      IF CLAIM IS SUBJECT TO
                                                                                                               SETOFF, SO STATE.

      ACCOUNT NO.
                                            —————————

                                                                   —————————




                                                                                                —————————




                                                                                                                                     —————————


                                                                                                                                                              —————————

                                                                                                                                                                                         —————————

                                                                                                                                                                                                                —————————
      ————————————————
                                                                                                      Credit Card Charges
      Chase
      Attn: Bankruptcy                                                                                                                                                                                                            $20,337.62
      Department, P.O. Box 1093
      Northridge, CA 91328
      ———————————————————————————————————————————————————

      ACCOUNT NO.
                                            —————————

                                                                   —————————




                                                                                                —————————




                                                                                                                                     —————————


                                                                                                                                                              —————————

                                                                                                                                                                                         —————————

                                                                                                                                                                                                                —————————
      ————————————————
                                                                                                      Credit Card Charges
      GM Card                                                                                                                                                                                                                     $21,291.63
      P.O Box 30256
      Salt Lake City, UT 84130

      ———————————————————————————————————————————————————

      ACCOUNT NO.
                                            —————————

                                                                   —————————




                                                                                                —————————




                                                                                                                                     —————————


                                                                                                                                                              —————————

                                                                                                                                                                                         —————————

                                                                                                                                                                                                                —————————
      ————————————————
                                                                                                      Credit Card Charges
      Sam's Club                                                                                                                                                                                                                    $675.82
      P.O. Box 965005
      Orlando, FL 32896

      ———————————————————————————————————————————————————




                                                                                                                                                                              Subtotal'                                     $      42,305.07
         0
       _____continuation sheets attached                                                                                                              Total'                                                                $      42,305.07
                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                    (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                          Summary of Certain Liabilities and Related Data.)
Case 15-20717             Doc 1      Filed 06/15/15 Entered 06/15/15 14:41:35                        Desc Main
                                      Document     Page 12 of 20
B 6G (Official Form 6G) (12/07)

In re Richard Carl Moxley,                                                   Case No.
                                             Debtor                                     (if known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
 Check this box if debtor has no executory contracts or unexpired leases.


                                                              DESCRIPTION OF CONTRACT OR LEASE AND
      NAME AND MAILING ADDRESS,                                NATURE OF DEBTOR’S INTEREST. STATE
          INCLUDING ZIP CODE,                                 WHETHER LEASE IS FOR NONRESIDENTIAL
OF OTHER PARTIES TO LEASE OR CONTRACT.                           REAL PROPERTY. STATE CONTRACT
                                                              NUMBER OF ANY GOVERNMENT CONTRACT.
          Case 15-20717            Doc 1       Filed 06/15/15 Entered 06/15/15 14:41:35   Desc Main
                                                Document     Page 13 of 20
B 6H (Official Form 6H) (12/07)

In re Richard Carl Moxley,                                           Case No.
                                                   Debtor                             (if known)


                                               SCHEDULE H - CODEBTORS
 Check this box if debtor has no codebtors.


            NAME AND ADDRESS OF CODEBTOR                             NAME AND ADDRESS OF CREDITOR
                  Case 15-20717            Doc 1          Filed 06/15/15 Entered 06/15/15 14:41:35                         Desc Main
                                                           Document     Page 14 of 20
 Fill in this information to identify your case:


 Debtor 1            Richard Carl Moxley
                    ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                      Northern District of Illinois
 United States Bankruptcy Court for : ______________________        _

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
Official Form B 6I
                                                                                                       ________________
                                                                                                       MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status            
                                                                      X
                                                                        Employed                                       Employed
    employers.                                                         Not employed                                   Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 Drive
                                                                    __________________________________           __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name            CTA
                                                                    __________________________________           __________________________________


                                         Employer’s address        _______________________________________     ________________________________________
                                                                    Number Street                               Number    Street

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________

                                                                    ***Debtor employer state RMC***
                                                                   _______________________________________     ________________________________________
                                                                     City           State  ZIP Code              City                State ZIP Code

                                         How long employed there?         _______
                                                                          8 years                                 _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.     5,774.17               0.00
                                                                                             $___________           $____________

 3. Estimate and list monthly overtime pay.                                            3.      0.00
                                                                                            + $___________          0.00
                                                                                                                 + $____________

 4. Calculate gross income. Add line 2 + line 3.                                       4.     5,774.17
                                                                                             $__________             0.00
                                                                                                                    $____________



Official Form B 6I                                             Schedule I: Your Income                                                        page 1
                 Case 15-20717                        Doc 1            Filed 06/15/15 Entered 06/15/15 14:41:35                                        Desc Main
                                                                        Document     Page 15 of 20
Debtor 1         Richard Carl Moxley
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name



                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.      5,774.17
                                                                                                                          $___________           0.00
                                                                                                                                                $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.      865.80
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.      563.33
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5d. Required repayments of retirement fund loans                                                            5d.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5e. Insurance                                                                                               5e.      208.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5f. Domestic support obligations                                                                            5f.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     5g. Union dues                                                                                              5g.
                                                                                                                          0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     5h. Other deductions. Specify: __________________________________                                           5h.       0.00
                                                                                                                        + $____________          0.00
                                                                                                                                              + $_____________
 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                    6.      1,637.13
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      4,137.04
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                              0.00                   0.00
                                                                                                                         $____________          $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                          0.00                   0.00
                                                                                                                         $____________          $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8e. Social Security                                                                                         8e.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                           0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                            8g.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.       0.00
                                                                                                                        + $____________          0.00
                                                                                                                                              + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                          4,137.04
                                                                                                                         $___________     +      0.00
                                                                                                                                                $_____________    4,137.04
                                                                                                                                                               = $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                          0.00
                                                                                                                                                               11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                               12.
                                                                                                                                                                       4,137.04
                                                                                                                                                                      $_____________
                                                                                                                                                                      Combined
                                                                                                                                                                      monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:


Official Form B 6I                                                                 Schedule I: Your Income                                                                page 2
                   Case 15-20717              Doc 1         Filed 06/15/15 Entered 06/15/15 14:41:35                             Desc Main
                                                             Document     Page 16 of 20
  Fill in this information to identify your case:

  Debtor 1          Richard Carl Moxley
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                       Northern District of Illinois
                                                                                                       A supplement showing post-petition chapter 13
  United States Bankruptcy Court for : ______________________        _                                    expenses as of the following date:
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form B 6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   X
        No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

               
               X
                     No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                  
                                            X
                                                No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                              No
                                                                                   _________________________                ________
   names.                                                                                                                                     Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include
   expenses of people other than
                                            
                                            X
                                                No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                               800.00
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                         4a.      0.00
                                                                                                                              $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.      150.00
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.      50.00
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.      0.00
                                                                                                                              $_____________________

Official Form B 6J                                            Schedule J: Your Expenses                                                          page 1
                 Case 15-20717                Doc 1        Filed 06/15/15 Entered 06/15/15 14:41:35                     Desc Main
                                                            Document     Page 17 of 20
 Debtor 1        Richard Carl Moxley
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     550.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     150.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     200.00
                                                                                                                     $_____________________
      6d.                   See Attachment 1
            Other. Specify: _______________________________________________                                   6d.     300.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      600.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      150.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     100.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     125.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      600.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     100.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     100.00
                                                                                                                     $_____________________

15.   Insurance.                                                                                                                                    1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    150.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                         17a.    0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                         0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                   18.   $_____________________


19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



 Official Form B 6J                                            Schedule J: Your Expenses                                                   page 2
                 Case 15-20717                Doc 1       Filed 06/15/15 Entered 06/15/15 14:41:35                         Desc Main
                                                           Document     Page 18 of 20
 Debtor 1        Richard Carl Moxley
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                         21.     0.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                         4,125.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                          4,137.04
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.      4,125.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                          12.04
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
         Yes.     Explain here:




 Official Form B 6J                                           Schedule J: Your Expenses                                                       page 3
  Case 15-20717      Doc 1     Filed 06/15/15 Entered 06/15/15 14:41:35   Desc Main
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                                     Addendum

Attachment 1
    Description: Cell phone
    Amount: 150.00

    Description: Cable, internet
    Amount: 150.00
                     Case 15-20717
B6 Declaration (Official Form 6 - Declaration) (12/07)       Doc 1              Filed 06/15/15 Entered 06/15/15 14:41:35                                                                Desc Main
                                                                                 Document     Page 20 of 20
      In re
              Richard Carl Moxley
              _________________________________________                                                                  ,                Case No. ______________________________
                            Debtor                                                                                                                             (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                            15 sheets, and that they are true and correct to the best of
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
my knowledge, information, and belief.


     June 2, 2015
Date __________________________________                                                                                        s/Richard Carl Moxley
                                                                                                                    Signature: ________________________________________________
                                                                                                                                                Richard Carl Moxley Debtor

Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                                                            (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
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                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


    I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of _____ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.


Date ______________________________________
                                                                                                        Signature: _____________________________________________________________

                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
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Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
